Case: 4:22-cr-00448-HEA Doc. #: 46 Filed: 05/10/23 Page: 1 of 13 PageID #: 92




                              UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF MISSOTIRI
                                    EASTERN DTVISION

 I'NITED STATES OF AMERICA,                   )
                                              )
          Plaintiff,                          )
                                              )
 v.                                           )       NO. 4:22CR00448 IIEA
                                              )
                                              )
 JESSICA MEDRANO,                             )
                                              )
           Defendant.                         )


                                  GI'ILIY PLEA AGREEMENT
        Come now the parties and hereby agree, as follows:

 1. PARTIFS:
        The parties are the defendant, JESSICA MEDRANO, represented by defense counsel, Bevy

 Beimdiek, Esq., and the United States of America (hereinafter "United States" or "Government"),

 represented by the Office of the United States Attorney for the Eastern District of Missouri. This

 agreement does not, and is not intended to, bind any governmental office or agency other than the

 United States Attorney for the Eastern District of Missouri. The Court is neither a party to nor

 bound by this agreemont.

 2. GUILTY PLEA:
        Pursuant to Rule 1l(c)(l)(A), Federal Rules of Criminal Procedure, in exchange for the

 defendant's voluntary plea of guilty to Counts 2, 3, 10, 1l , 12, 13, and i4, the United States agrees

 that it will move for the dismissal of Counts 1,4,5, 6,7 ,8, and 9, as to the defendant at the time of

 sentencing. The government agrees that no further federal prosecution will be brought in this

 District relative to the defendant's use of the identifying information of K,M. to obtain cash and
Case: 4:22-cr-00448-HEA Doc. #: 46 Filed: 05/10/23 Page: 2 of 13 PageID #: 93




 services between on or about December l,2O2l and June 30,2022, of which the Government is

 aware at this time. ln addition, the parties agree that the U.S. Sentencing Guidelines Total Offense

 Level analysis agreed to by the parties is the result of negotiation and led, in part, to the guilty plea.

 The parties further agree that either party may request a sentence above or below the U.S.

  Sentencing Guidelines range (combination of Total Offense Level and Criminal History Category)

 ultimately determined by the Court pursuant to any chapter of the Guidelines and Title 18, United

  States Code, Section 3553(a) as long as notice ofany such request be given no later than ten days

 prior to sentencing and that said notice shall specify the legal and factual bases for the request.

  3. ELEMEI{TS:
         As to Count 2, the defendant admits to knowingly violating Title 18, United States

  Code, Section 1029(aX5), fraudulently effecting transactions, and admits there is a factual

  basis for the plea and further fully understands that the elements of the crime are:

         (1)     that the defendant knowingly caused and conducted transactions with one or more

                 access devices that had been issued to other persons;

         (2)     that the defendant did so to obtain money with a total value of at least $1 ,000

                 during any one-year period;

         (3)     that the defendant did so with the intent to defraud; and

         (4)     that the defendant's conduct affected interstate commerce.

         As to Counts 3, 10, 17, 12,13, and 14, the defendant admits to knowingly violating Title

  18, United States Code, Section 1343, and admits there is a factual basis for the plea and further

  fully understands that the elements of the crime are:




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Case: 4:22-cr-00448-HEA Doc. #: 46 Filed: 05/10/23 Page: 3 of 13 PageID #: 94




         (1)    that the defendant knowingly participated in the scheme to defraud or to obtain

                monsy or property by means of false pretenses, representations or promises;

         (2)    that the defendant aoted with the intent to defraud; and

         (3)     that for the purpose of carrying out the scheme or attempting to do so, the

                defendant caused interstate wire communications to take place.

 4. FACTS:
         The parties agree that the facts in this case are as follows and that the government would

 prove these facts beyond a reasonable doubt if the case were to go to trial. These facts may be

 considered as relevant conduct pursuant to Section 181.3:

          K.M. is more than 73 years-old and suffers multiple health issues, Defendant agrees and

  admits that on at least one occasion prior to December !9,202L, K.M. entrusted his debit card to

  Defendant, his niece, so that she could make purohases on his behalf. As a result, Defendant, a

  resident of the Eastem District of Missouri, obtained K.M,'s debit card number. Defendant further

  agrees and admits that she obtained additional identifying information of K.M. such as his date of

  birth and social security number.

         Between January 21,2022 and May 16,2022, Defendant agrees and admits that she used

  K.M.'s debit card number to make online and in-store purchases at Wal-Mart for the benefit of

  herself and her immediate family. The items purchased online were shipped to Defendant's

  residence in St. Charles County, Missouri, and the in-store purchases occured at various Wal-Mart

  stores located in Warren County and St. Charles County, Missouri. Wal-Mart is a retailer that

  operates in interstate commerce. Defendant further agrees and admits that the total amount of

  purchases that she made without K.M.'s permission exceeded $12,000.



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Case: 4:22-cr-00448-HEA Doc. #: 46 Filed: 05/10/23 Page: 4 of 13 PageID #: 95




           Defendant further agrees and admits that she used a Kohl's credit account in the name of

 K.M. without K,M.'s permission to obtain merchandise for her benefit and those of her immediate

 family.

           Fufiher, between January 24,2OZZ and June 6,2022,Defendant also admits and agrees that

 she electronically transferred $57,950 from K.M.'s bank account to her own using Cash App, a

 finance app, and K.M.'s debit card number without K.M.'s authorization. Cash App is a business

 located in California with servers Iocated outside the State of Missouri. The unauthorized transfers

 initiated from the State of Missouri included the following financial transactions:

                          COUNT       DATE                     AMOUNT
                          3           January 28,2022          $750
                          10          May 17,2022              $s00
                          11          May 17,2022              $1000
                          12          May 77,2022              $1000
                          13          May 23,2022              $1000
                          14          May 23,2022               $1000


           Defendant agrees and admits that she obtained, and attempted to obtain, money, property,

 and services valued in excess of $40,000 through the unauthorized use of K.M.'s debit card number

 and personal identifying information.

 5. STATUTORYSENALTIES:
           The defendant fully understands that the maximum possible penalty provided by law for

 the crime of fraudulently effecting transactions to which the defendant is pleading guilty in Count

 2 is imprisonment of not more than l5 years, a fine of not more than $250,000.00, or both, The

  Court may also impose a3 year period of supervised release.




                                                  4
Case: 4:22-cr-00448-HEA Doc. #: 46 Filed: 05/10/23 Page: 5 of 13 PageID #: 96




        In addition, the defendant fully understands that the maximurn possible penalty provided by

 law for the crimE of wire fraud to which the defendant is pleading guilty in Counts 3, 10,    ll, 72,
 13, and l4 is imprisonment of not more thar-20 yeal's, a fine of not more than $250,000,00, or both.

 The Court may also impose a period of supervised release of not more than 3 years.

 6. U.S. SENTENCTNG GUIDELINES 2O2O MANUAL:
        The defendant understands that Counts 2,3,10,17,12,13, and 14 are affected by the U.S'

 Sentencing Guidelines and the actual sentencing range is determined by both the Total Offense.

 The parties agree that the following are the applicable U.S. Sentencing Guidelines Total Offense

 Level provisions.

        a. Chanter 2 Offense Conduct:
                (1) Base Offense Level: The parties agree that the base offense level is 7 as found
 in Section 28 1.1(a)(1).

                (2\ Chapter 2 Specific Offense Characteristics: The parties submit that the
 following specific offlense characteristic applies: 6 levels should be added pursuant to Section

 281.1(bxt)(D) because the loss exceeded $40,000.00.

        The Government also submits that following specific offense characteristics also apply: 2

 levels should be added pursuant to Section 281.1(bX2)(A)(i) because the offense resulted in

 substantial financial hardship to one or more victims; and 2 levels should be added pursuant to

 Section 281.1(bxlIXCXD because the offense involved the unauthorized transfer oruse of any

 rneans of identification unlawfully to produce or obtain any other means of identification.

        Defendant disagrees with the applicability of Sections 281.1(bX2XAXi) and

 28l.l(bxllXCXD as a matter of law.

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Case: 4:22-cr-00448-HEA Doc. #: 46 Filed: 05/10/23 Page: 6 of 13 PageID #: 97




         b. Chapter 3 Adiustments:
         (1) Qflrer Adiustments: The Government also submits that the following specific
 offense characteristic applies: 2 levels should be added pursuant to Section 3A1 . 1 (bX l ) because the

 defendant knew or should have known that K.M. was a vulnerable victim.

         Defendant disagrees with the applicability of Section 3A1 . I (bX I ) as a matter of law.

                 (2).., Acceptance of Responsibilify: Because Defendant does not object to the


 facts, and if the Government prevails in its position regardingthe applicability of the enhancements,

 the parties recommend that three levels should be deducted pursuant to Sections 3E1.1(a) and (b)

 because the defendant has clearly demonstrated acceptance of responsibility and timely notified the

 Govemment of the intent to enter a guilty plea. The parties agree that the defendant's eligibility

 for this deduction is based upon information presentiy known. If subsequent to the taking of the

 guilty plea the government receives new evidence of statements or conduct by the defendant which

 it believes are inconsistent with defendant's eligibility for this deduction, the govemment may
 present said evidence to the court, and argue that the defendant should not receive all or part ofthe

 deduction pursuant to Section 3E1.1, without violating the plea agreement.

         c. Estimated Total Offense Level: The Govemment estimates that the Total Offense
 Level is 16, andthe Defendant estimates that the Totat Offense Level will be i I '

         d. Crir4inal Historv: The determination of the defendant's Criminal History Category
  shall be left to the Court. Either party may challenge, before and at sentencing, the finding of the

  Presentence Report as to the defendant's criminal history and the applicable category. The

  defendant's criminal history is known to the defendant and is substantially available in the Pretrial

  Services Report.


                                                    6
Case: 4:22-cr-00448-HEA Doc. #: 46 Filed: 05/10/23 Page: 7 of 13 PageID #: 98




         e. Effect of Parties' U.S, Sentencine Suidelines Analvsis: The parties agree that the
 Courl is not bound by the Guidelines analysis agreed to herein. The parties may not have foreseen

 all applicable Guidelines. The Court may, in its discretion, apply ot not apply any Guideline

 despite the agreement herein and the parties shall not be permitted to withdraw from the plea

 agreement.

 7. WAI\TER OF APPEAL AND POST.CONYICTION RIGHTS:
         L,              The defendant has been fully apprised by defense counsel ofthe defendant's

 rights conceming appeat and fully understands the right to appeal the sentence under

 Title 18, United States Code, Section3742.

                 (1) ,,Non-Sente.ncins Issues: The parties waive all rights to appeal all non-

 jurisdictional, non-sentencing issues, including, but not limited to, any issues relating to

  motions, discovery and the guilty plea.

                 (2) Sente4cing Issuesi The parties disagree as to the applicability of Sections
  281,1(bX2)(AXi),281.1(bX11XCXi), and3Al.l,andwilllitigatethoseissuesatsentencing.The

  parties agree to abide by the district court's determination of those issues, and specifically waive

  their rights to appeal the district court's ruling resulting in the calculation of the Total Offense

  Level. [n the event the Court accepts the plea, and after determining the appropriate Total Offense

  Level, sentences the defendant within or below the comesponding range, then, as a part of this

  agreement, the defendant hereby waives all rights to appeal all sentencing issues other than Criminal

  History, but only if it affects the Base Offense Level or Criminal History Category. Similarly, the

  Government hereby waives all rights to appeal all sentencing issues other than Criminal History,




                                                   7
Case: 4:22-cr-00448-HEA Doc. #: 46 Filed: 05/10/23 Page: 8 of 13 PageID #: 99




 provided the Court accepts the plea, and after determining the appropriate Total Offense Level,

 sentences the defendant within or above the corresponding range.

                 b. Habeas Corpus: The defendant agrees to waive all rights to contest the
 conviction or sentence in any post-conviction proceeding, including one pursuant to Title 28, United

 States Code, Section 2255, except for claims of prosecutorial misconduct or ineffective assistance

 ofcounsel.

                 c. Rieht     Records      The defendant waives all rights, whether asserted directly

 or by a representative, to request from any department or agency of the United States any records

 pertaining to the investigation or prosecution of this case, including any records that may be sought

  under the Freedom of Information Act, Title 5, United States Code, Section 522,orthe Privacy Act,

  Title 5, United States Code, Section 552(a).

  8. OTHER:
         a., Disclosures Required by the United Stfltes Probation Office: The defendant agrees
  to truthfully complete and sign forms as required by the United States Probation Office

  prior to sentencing and consents to the release of these forms and any supporting documentation

  by the United States Probation Offlce to the government.

         b. Civil or Administrative Actions nqt Barredl Effect on Other..Governmental
  Asgncies: Nothing contained herein limits the rights and authority of the United States to take

  any civil, tax, immigration/deportation or administrative action against the defendant.

         c. Supervised Release: Pursuant to any supervised release term, the Court will impose
  standard conditions upon the defendant and may impose special conditions related to the crime

  defendant committed. As a special condition of supervised release, defendant agrees not to initiate



                                                   8
Case: 4:22-cr-00448-HEA Doc. #: 46 Filed: 05/10/23 Page: 9 of 13 PageID #: 100




  any contaot, direct or indirect, with victims of the offense or identified government witnesses.

  These conditions will be restrictions on the defendant to which the defendant will be required to

  adherr. Violation of the conditions of supervised release resulting in revocation may require the

  defendant to serve a term of imprisonment equal to the length of the term of supervised release, but

  not greater than the term set forth in Title I 8, United States Code, Section 3 583(e)(3), without credit

  for the time served after release. The defendant understands that parole has been abolished.

          d. Mand4torv Special Assessmenl: Pursuant to Title 18, United States Code, Section
  3013, the Court is required to impose a mandatory special assessment of $100.00 per count, for a

  total of $700.00, which the defendant agrees to pay at the time of sentencing. Money paid by the

  defendant toward any restitution or fine imposed by the Court shall be first used to pay any unpaid

  mandatory special assessment.

          e, Possibility of Detention: The defendant may be subject to immediate detention
  pursuant to the provisions of Title 18, United States Code, Section3143.

          f. Fines.,Bestitution and Costs..of Incarcer:fltion and Supervision: The Court may
  impose a fine, restitution (in addition to any penalty authorized by law), costs of incarceration and

  costs of supervision. The defendant agrees that any fine or restitution irnposed by the Court will

  be due and payable immediately. The precise amount of restitution is unknown at the present

  time. Pursuant to Title 18, United States Code, Section 36634, an order of restitution is
  mandatory for all crimes listed in Section 3663A(c). Regardless of the Count of conviction, the

  amount of mandatory restitution imposed shall include all amounts allowed by Section 3663A(b)

  and the amount of loss agreed to by the parties, including all relevant conduct loss. The defendant

  agrees to provide full restitution to all victims of all charges in the indictrnent.



                                                      9
Case: 4:22-cr-00448-HEA Doc. #: 46 Filed: 05/10/23 Page: 10 of 13 PageID #: 101




          s.    Forfcrturg: The defendant agrees the stipulated facts above are sufficient to support

  forfeiture of ceftain assets pursuant to the applicable forfeiture authorities. Defendant specifically

  agrees to the entry of a forfeiture money judgment. The defendant agrees the Court may enter a

  consent preliminary order of forfeiture any time before sentencing, and such Order will become

  final as to the defendant when it is issued and will be part of the sentence. The defendant agrees not

  to object to any administrative, civil or criminal forfeiture brought against any assets subject to

  forfeiture. The defendant will execute any documents and take all steps needed to transfer title or

  ownership of said assets to the government and/or to rebut the claims of nominees and/or alleged

  third party owners, The defendant knowingly and intelligently waives all constitutional and

  statutory challenges to any forfeiture carried out in accordance with this plea agreement, including

  but not limited to that defendant was not given adequate notice of forfeiture in the charging

  instrument.

          The defendant knowingly and voluntarily waives any right, title, and interest in all items

  seized by law enforcement officials during the course of their investigation, whether or not they are

  subject to forfeiture, and agrees not to contest the vesting of title of such items in the United

   States. The defendant agrees that said items may be disposed of by law enforcement officials in any

  manner.

          g. ACKNOWLEDGMENT AND WAIVER,OF THE DEF'ENDANTIS RIGHTS:
  In pleading guilty, the defendant acknowledges, fully understands and hereby waives his rights,

   including but not limited to: the right to plead not guilty to the charges; the right to be tried by a

  jury in a public and speedy trial; the right to file pretrial motions, including motions to suppress or

  exclude evidence; the right at such trial to a presumption of innocence; the right to require the


                                                    10
Case: 4:22-cr-00448-HEA Doc. #: 46 Filed: 05/10/23 Page: 11 of 13 PageID #: 102




  government to prove the elements of the offenses against the defendant beyond a reasonable doubt;

  the right not to testi$r; the right not to present any evidence; the right to be protected from compelled

  self-incrimination; the right at trial to confront and cross-examine adverse witnesses; the right to

  testify and present evidence and the right to compel the attendance of witnesses. The defendant

  further understands that by this guilty plea, the defendant expressly waives all the rights set forth

   in this paragraph.

           The defendant fully underctands that the defendant has the right to be represented by

   counsel, and ifnecessary, to have the Court appoint counsel at trial and at every other stage ofthe

  proceeding. The defendant's counsel has explained these rights and the consequences of the

  waiver of these rights. The defendant fully understands that, as a result of the guilty plea, no trial

   will, in fact, occur and that the only action remaining to be taken in this case is the imposition of

   the sentence.

           The defendant is fully satisfied with the representation received from defense counsel. The

   defendant has reviewed the govemment's evidence and discussed the government's case and all

   possible defenses and defense witnesses with defense counsel. Defense counsel has completely

   and satisfactorily explored all areas which the defendant has requested reiative to the govemment's

   case and any defenses.

   10.,, VOLUNTARY NATUITE OF THE GqILTY PLEA AI{D PLEA AGREEMENT:

           This document constitutes the entire agreement between the defendant and the govemment,

   and no other promises or inducements have been made, directly or indirectly, by any agent of the

   government, including any Department of Justice affomey, concerning any plea to be entered in

   this case. In addition, the defendant states that no person has, directly or indirectly, threatened or


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Case: 4:22-cr-00448-HEA Doc. #: 46 Filed: 05/10/23 Page: 12 of 13 PageID #: 103




  coerrced the defendant to do or refrain from doing anything in connection with any aspect of this

  case, including entering a plea of guilty.

         The defendant acknowledges having voluntarily entered into both the plea agreement and

  the guilty plea. The defendant further acknowledges that this guilty plea is made of the defendant's

  own free will and that the defendant is, in fact, guilty.

  1I.,. CONSEOUENCES OF POST-PLEA MISCONDUCT:

          After pleading guilty and before sentencing, if defendant commits any crime, other than

  minor traffic offenses, violates any condition of reiease that results in revocation, violates any term

  of this guilty plea agreement, intentionally provides misleading, incomplete or untruthful
  information to the U.S. Probation Office or fails to appear for sentencing, the United States, at its

  option, may be released from its obligations under this agreement. The Govemment may also, in

  its discretion, proceed with this agreement and may advocate for any sentencing position supported

  by the facts, including but not limited to obstruction of justice and denial of acceptance of

  responsibility.




                                                     12.
Case: 4:22-cr-00448-HEA Doc. #: 46 Filed: 05/10/23 Page: 13 of 13 PageID #: 104




     12. NO RIGHT TO WITHDRAW GUILTY PLEA:
            pursuant to Rule I I (c) and (d), Federal Rules of Criminal Procedure, the defendant

     ,understands that there will be no right to withdraw the plea entered under this agreement, except


     where the Court rejects those portions of the plea agreement which deal with charges the

     government agrees to dismiss or not to bring.




      ur:i \            "                                 TRACY       BERRY     1     TN
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                                                                      MEDRANO
                                                          Defendant




     Date                                                 BEVY                 ESQ.
                                                          Attorney for Defendant




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